IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,

Plaintiff, No, 23-ce-20

VS. REPORT AND RECOMMENDATION

Dalton ames Griebe( ,

Defendant.

After consenting to proceed before the undersigned United States Magistrate
Judge, Defendant, together with counsel and in the presence of counsel for the

Government, appeared before me to enter a guilty plea to Count(s) \ of the

[7 Indictment CL Superseding Indictment LF Information.

[7 Defendant entered a plea pursuant to a plea agreement that includes: CL] the
dismissal of charges, [Aan appeal waiver, L] a conditional plea preserving the right to
appeal certain rulings under Federal Rule of Criminal Procedure 11(a)(1), LJ specific
sentencing terms under Federal Rule of Criminal Procedure 11(c)(1)(C).

I cautioned and examined Defendant under oath and in open court as required by
Federal Rule of Criminal Procedure 11, including: (1) that the Government could use
Defendant’s statements made under oath in a prosecution for perjury or false statement;
(2) the right to plead not guilty and persist in that plea; (3) the right to counsel; (4) the
right to a jury trial, to confront witnesses, to present a defense and compel witnesses,
and to remain silent; (5) that trial rights would be forever waived by pleading guilty; (6)
the nature of each charge to which Defendant is pleading; (7) the possible penalties that
may be imposed, including the maximum and any mandatory minimum penalties and a
special assessment; (8) the operation of the sentencing guidelines; and (9) all collateral

consequences that could follow a conviction, including but not limited to, any applicable

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forfeiture and restitution, the absence of parole in the federal court system, the loss of
citizenship rights, the nature and possible length of any term of supervised release, as
well as possible immigration consequences, if applicable. Where applicable, I also made
a record of any written plea agreement, the dismissal of any charges, any appeal waiver,
any conditional nature of the plea, and any specific sentencing terms under Federal Rule
of Criminal Procedure 11(c)(1)(C).

Defendant was given a full opportunity to address the court and ask questions.
Counsel for the Government and for Defendant were given the opportunity to make any
additional record, raise issues with the validity of the plea proceeding, and assert any
legal reason the plea should not be accepted. Defense counsel acknowledged that the
change of plea was knowing, and voluntary, that there was a factual basis for the change
of plea, and that the plea was valid.

Based on my observations and the record made, I find that: (1) Defendant is
competent and the decision to plead guilty was knowing, intelligent, and voluntary and
not the product of any force, pressure, threats, or promises, except as may be contained
in a written plea agreement; (2) the change of plea is supported by an independent factual
basis for each of the essential elements; (3) the provisions of Rule 11 and any other
provisions of the law governing submission of guilty pleas have been complied with; (4)
any plea agreement is in writing, was disclosed and discussed during the plea hearing,
and will be filed with the Court; and (5) there are no agreements or stipulations other

than those that may be contained in a written plea agreement.

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RECOMMENDATION

I therefore RECOMMEND that the District Court Judge ACCEPT Defendant’s

change of plea and adjudge Defendant guilty.

PRESENTENENCE INVESTIGATION

I ordered a presentence investigation be conducted by the United States Probation

Office.

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FORFEITURE
Pursuant to Federal Rule of Criminal Procedure 32.2(b)(1), I find that the
Government has established the requisite nexus between defendant’s offense
and the property described in the charging document’s forfeiture allegation.
I recommend the District Court Judge enter a preliminary forfeiture order
pursuant to Federal Rule of Criminal Procedure 32.2(b)(2).
RELEASE/DETENTION
Defendant was in custody at the time of the plea hearing and shall remain
so pending sentencing.
Defendant shall remain released pending sentencing pursuant to the Court’s
prior order.
Defendant was ordered to the custody of the United States Marshals Service
to be detained pending sentencing for the reasons stated on the record.
OBJECTIONS
The parties must file any objections to the findings and my recommendation
no later than 14 days from the filing of this Report and Recommendation.
If no objection is made, the District Court Judge may accept Defendant’s

guilty plea by simply entering a written order doing so.

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L] The parties waived their rights to file objections to this Report and
Recommendation and agree that the District Court Judge may accept

Defendant’s change of plea.

DATED 08/10/2023

Yor /Z,

MARK A. ROBERTS
United States Magistrate Judge
Northern District of Iowa

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